J S 4 4 C/ S D N Y                            Case 1:19-cv-01337-ALC CIDocument
                                                                        VI L C O V E R 2S H Filed
                                                                                            E E T 02/12/19 Page 1 of 2
R E V. 0 6/ 0 1/ 1 7
                                        T h e J S- 4 4 ci vil c o v er s h e et a n d t h e i nf or m ati o n c o nt ai n e d h er ei n n eit h er r e pl a c e n or s u p pl e m e nt t h e fili n g a n d s er vi c e of pl e a di n g s or
                                        ot h er p a p er s a s r e q uir e d b y l a w, e x c e pt a s pr o vi d e d b y l o c al r ul e s of c o urt. T hi s f or m, a p pr o v e d b y t h e J u di ci al C o nf er e n c e of t h e
                                        U nit e d St at e s i n S e pt e m b er 1 9 7 4, i s r e q uir e d f or u s e of t h e Cl er k of C o urt f or t h e p ur p o s e of i niti ati n g t h e ci vil d o c k et s h e et.



P L AI N TI F F S                                                                                                                             DEFE N DA NTS
B U Z Z F E E D, I N C.                                                                                                                       U. S. D E P A R T M E N T O F T H E AI R F O R C E


A T T O R N E Y S ( FI R M N A M E, A D D R E S S, A N D T E L E P H O N E N U M B E R                  A T T O R N E Y S (I F K N O W N)
N a bi h a S y e d & M att h e w S c h af er
B U Z Z F E E D, I N C., 1 1 1 E a st 1 8t h Str e et, 1 4t h Fl o or
N e w Y or k, N Y 1 0 0 0 3, ( 6 4 6) 7 9 8- 0 6 9 3
C A U S E O F A C TI O N ( CI T E T H E U. S. CI VI L S T A T U T E U N D E R W HI C H Y O U A R E FI LI N G A N D W RI T E A B RI E F S T A T E M E N T O F C A U S E)
                                          ( D O N O T CI T E J U RI S DI C TI O N A L S T A T U T E S U N L E S S DI V E R SI T Y)

5 U. S. C. 5 5 2 - Fr e e d o m of I nf or m ati o n A ct l a w s uit f or f ail ur e t o di s cl o s e n o n- e x e m pt r e c or d s

                                                                                                                                                                                                                                J u d g e Pr e vi o u sl y A s si g n e d
H a s t hi s a cti o n, c a s e, or pr o c e e di n g, or o n e e s s e nti all y t h e s a m e b e e n pr e vi o u sl y fil e d i n S D N Y at a n y ti m e ?                                          No   ✔    Yes

If y e s, w a s t hi s c a s e V ol.                     I n v ol.         Di s mi s s e d. N o                 Yes              If y e s, gi v e d at e _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ & C a s e N o. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

IS   T HI S A N I N T E R N A TI O N A L A R BI T R A TI O N C A S E ?                   No      ✖              Yes

( P L A C E A N [ x] I N O N E B O X O N L Y)                                                                N A T U R E O F S UI T
                                                   T O RTS                                                                                                                                A C TI O N S U N D E R S T A T U T E S



C O NT R A CT                                      P E R S O N ALI NJ U R Y                      P E R S O N ALI NJ U R Y                     F O R F EI T U R E/ P E N A L T Y           B A N K R UPT CY                               OT HE R ST AT UTES
                                                                                                 [  ] 3 6 7 H E A L T H C A R E/
                                                                                                 P H A R M A C E U TI C A L P E R S O N A L                                                                                              [ ] 3 7 5 F A L S E C L AI M S
[    ]   110         I NS U RA N CE                [ ] 3 1 0 AI R P L A N E                                                                   [ ] 625 D R U G R EL AT E D                 [ ] 422 A P P E AL
[    ]   120         M A RI N E                    [ ] 3 1 5 AI R P L A N E P R O D U C T        I N J U R Y/ P R O D U C T LI A BI LI T Y                                                          28 U S C 158                         [ ] 3 7 6 Q UI T A M
                                                                                                                                               S EI Z U R E O F P R O P E R T Y
[    ]   130         MI L L E R A C T                        LI A BI LI T Y                      [  ] 365 P E R S O N ALI NJ U R Y                     21 U S C 881                       [ ] 4 2 3 WI T H D R A W A L                   [ ] 400 ST AT E
[    ]   140         N E G O TI A B L E            [ ] 3 2 0 A S S A U L T, LI B E L &                       P R O D U C T LI A BI LI T Y                                                           28 U S C 157                                   R E A P P O R TI O N M E N T
                                                                                                                                              [ ] 690 OT H E R
                     I NST R U ME NT                         SL A N D E R                        [ ] 368 A S B E ST O S P E R S O N AL                                                                                                   [ ] 4 1 0 A N TI T R U S T
[ ] 150              RE C OVE RY OF                [ ] 330 F E D E R AL                                      I NJ U R Y P R O D U C T                                                                                                    [ ] 4 3 0 B A N K S & B A N KI N G
                     OVE RPAY ME NT &                        E M P L O Y E R S'                              LI A BI LI T Y                   P R O P E R T Y RI G H T S                                                                 [ ] 450 C O M M E R C E
                     E NF O R CE ME NT                       LI A BI LI T Y                                                                                                                                                              [ ] 4 6 0 D E P O R T A TI O N
                     OF J U D G ME NT              [ ] 3 4 0 M A RI N E                          PE RS O N AL P R OPE RTY                     [ ] 8 2 0 C O P Y RI G H T S                                                               [ ] 4 7 0 R A C K E T E E R I N F L U-
[ ] 151              M E DI C A R E A C T          [ ] 3 4 5 M A RI N E P R O D U C T                                                         [ ] 830 P AT E NT                                                                                    E N CE D & C O R R UPT
[ ] 152              RE C OVE RY OF                          LI A BI LI T Y                      [ ] 370 OT H E R F R A U D                                                                                                                        O R G A NI Z A TI O N A C T
                                                                                                                                               [ ] 8 3 5 P A T E N T- A B B R E VI A T E D N E W D R U G A P P LI C A TI O N
                     D EF A ULT E D                [ ] 3 5 0 M O T O R V E HI C L E              [ ] 3 7 1 T R U T H I N L E N DI N G                                                                                                              ( RI C O)
                     ST U DE NT L OA NS            [ ] 3 5 5 M O T O R V E HI C L E                                                            [ ] 840 T R A D E M A R K                                                                 [ ] 4 8 0 C O N S U M E R C R E DI T
                     ( E X C L V E T E R A N S)              P R O D U C T LI A BI LI T Y                                                                                                 S O CI A L S E C U RI T Y                      [ ] 4 9 0 C A B L E/ S A T E L LI T E T V
[ ] 153              RE C OVE RY OF                [ ] 360 OT H E R P E R S O N AL
                     OVE RPAY ME NT                          I NJ U R Y                          [ ] 380 OT H E R P E R S O N AL              L A B O R                                   [   ]   861   HI A ( 1 3 9 5ff)                [ ] 8 5 0 S E C U RI TI E S/
                     O F V E T E R A N' S           [ ] 362 P E R S O N ALI NJ U R Y -                    P R OPE RTY DA MA GE                                                            [   ]   862   B L A C K L U N G ( 9 2 3)                 C O M M O DI TI E S/
                     B E N E FI T S                          M E D M A L P R A C TI C E          [ ] 385 P R O P E RT Y D A M A G E           [ ] 7 1 0 F AI R L A B O R                  [   ]   863   DI W C/ DI W W ( 4 0 5( g))                EX C HA N GE
[ ] 160              ST O C K H OL D E R S                                                                P R O D U C T LI A BI LI T Y                    STA N DA R DS A CT              [   ]   864   S SI D TI T L E X VI
                     S UI T S                                                                                                                 [ ] 7 2 0 L A B O R/ M G M T                [   ]   865   R SI ( 4 0 5( g))
[ ] 190              OT HE R                                                                     P RI S O N E R P E TI TI O N S                           R E L A TI O N S                                                               [ ] 890 OT H E R ST AT UT O R Y
                     C O NT RA CT                                                                [ ] 4 6 3 A LI E N D E T AI N E E            [ ] 7 4 0 R AI L W A Y L A B O R A C T                                                               A C TI O N S
[ ] 195              C O NT RA CT                                                                [ ] 5 1 0 M O TI O N S T O                   [ ] 7 5 1 F A MI L Y M E DI C A L           F E D E R A L T A X S UI T S                   [ ] 8 9 1 A G RI C U L T U R A L A C T S
                     P R O D U CT                  A C TI O N S U N D E R S T A T U T E S                    VA CATE SE NTE N CE              L E A V E A C T ( F M L A)
                     LI A BI LI T Y                                                                          28 U S C 2255                                                              [ ] 8 7 0 T A X E S ( U. S. Pl ai ntiff or
[ ] 196        F R A N C HI S E                    CI VI L RI G H T S                            [ ] 530 H A B E A S C O R P U S              [ ] 790 OT H E R L A B O R                           D ef e n d a nt)                      [ ] 8 9 3 E N VI R O N M E N T A L
                                                                                                 [ ] 535 D E AT H P E N ALT Y                          LI TI G A TI O N                 [ ] 8 7 1 I R S- T HI R D P A R T Y                          MATTE RS
                                                                                                 [ ] 540 M A N D A M U S & OT H E R           [ ] 791 E M PL R ETI N C                             26 U S C 7609                         [✖ ] 8 9 5 F R E E D O M O F
                                                   [ ] 440       O T H E R CI VI L RI G H T S
                                                                                                                                                       S E C U RI T Y A C T ( E RI S A)                                                              I N F O R M A TI O N A C T
                                                                ( N o n- Pri s o n er)
RE AL P R OPE RTY                                                                                                                                                                                                                        [ ] 8 9 6 A R BI T R A TI O N
                                                    [ ] 4 4 1 V O TI N G                                                                      I M MI G R A TI O N                                                                        [ ] 8 9 9 A D MI NI S T R A TI V E
[ ] 210              LA N D                         [ ] 442 E M PL O Y M E NT                    P RI S O N E R CI VI L RI G H T S
                     C O N D E M N A TI O N         [ ] 4 4 3 H O U SI N G/                                                                  [ ] 4 6 2 N A T U R A LI Z A TI O N                                                             P R O C E D U R E A C T/ R E VI E W O R
[ ] 220              F O R E CL O S U R E                      A C C O M M O D A TI O N S        [ ] 550     CI VI L RI G H T S                          A P P LI C A TI O N                                                                 A P P E A L O F A G E N C Y D E CI SI O N
[ ] 230              RE NT LEASE &                  [ ] 4 4 5 A M E RI C A N S WI T H            [ ] 555     P RI S O N C O N DI TI O N      [ ] 4 6 5 O T H E R I M MI G R A TI O N                                                       [ ] 9 5 0 C O N S TI T U TI O N A LI T Y O F
                     EJ E C T M E N T                          DI S A BI LI TI E S -             [ ] 560     CI VI L D E T AI N E E                      A C TI O N S
                                                               E M PL O Y M E NT                                                                                                                                                           STATE STAT UTES
[ ] 240              T O RTS T O LA N D                                                             C O N   DI TI O N S O F C O N FI N E M E N T
[ ] 245              T O RT P R O D U CT             [ ] 4 4 6 A M E RI C A N S WI T H
                     LI A BI LI T Y                            DI S A BI LI TI E S - O T H E R
[ ] 290              ALL OT H E R                     [ ] 4 4 8 E D U C A TI O N
                     R E AL P R O P E RT Y




               C h e c k if d e m a n d e d i n c o m pl ai nt:
                                                                                                                D O Y O U C L AI M T HI S C A S E I S R E L A T E D T O A CI VI L C A S E N O W P E N DI N G I N S. D. N. Y.
               C H E C K I F T HI S I S A C L A S S A C TI O N                                                  A S D E FI N E D B Y L O C A L R U L E F O R DI VI SI O N O F B U SI N E S S 1 3 ?
               U N D E R F. R. C. P. 2 3                                                                        I F S O, S T A T E:

DE MA N D                $ 0_ _ _ _ _ _ _ _ _ _ _ _ _ _ O T H E R              ______________ J U D G E _________________________________D O C K E T N U M B E R _________________

C h e c k Y E S o nl y if d e m a n d e d i n c o m pl ai nt
J U R Y D E M A N D:                          YES         ✖   N O                                               N O T E:      Y o u m u st al s o s u b mit at t h e ti m e of fili n g t h e St at e m e nt of R el at e d n e s s f or m ( F or m I H- 3 2).
                                   Case 1:19-cv-01337-ALC Document 2 Filed 02/12/19 Page 2 of 2
( P L A C E A N x I N O N E B O X O N L Y)                                                                             O RI GI N
                                                                                                                                                                                            M ulti di stri ct                      A p p e al t o Di stri ct
 ✖   1   Ori gi n al                 2       R e m o v e d fr o m                     3   Re manded              4   R ei n st at e d or            5   Tr a n sf err e d fr o m        6   Liti g ati o n
                                                                                                                                                                                                                               7   J u d g e fr o m
         Pr o c e e di n g                   St at e C o urt                              fr o m                     Reopened                           ( S p e cif y Di stri ct)
                                                                                                                                                                                            ( Tr a n sf err e d)                   M a gi str at e J u d g e
                                                                                          A p p ell at e
                                         a.     all p arti e s r e pr e s e nt e d        C o urt
                                                                                                                                                                                        8   M ulti di stri ct Liti g ati o n ( Dir e ct Fil e)
                                         b.        At l e a st o n e p art y
                                                   i s pr o s e.
( P L A C E A N x I N O N E B O X O N L Y)                                                             B A SI S O F J U RI S DI C TI O N                                                             I F DI V E R SI T Y, I N DI C A T E
     1   U. S. P L AI N TI F F           ✖     2     U. S. D E F E N D A N T                 3   F E D E R A L Q U E S TI O N      4 DI V E                  R SI T Y                                CI TI Z E N S HI P B E L O W.
                                                                                                 ( U. S. N O T A P A R T Y)

                                                     CI TI Z E N S HI P O F P RI N CI P A L P A R TI E S ( F O R DI V E R SI T Y C A S E S O N L Y)
           ( Pl a c e a n [ X] i n o n e b o x f or Pl ai ntiff a n d o n e b o x f or D ef e n d a nt)

                                                   PTF       DEF                                                                           PTF DEF                                                                                    PTF        DEF
CI TI Z E N O F T HI S S T A T E                   [ ] 1     [ ] 1             CI TI Z E N O R S U B J E C T O F A                         [ ] 3[ ] 3            I N C O R P O R A T E D a n d P RI N CI P A L P L A C E              [ ] 5      [ ] 5
                                                                                  F O R EI G N C O U N T R Y                                                     O F B U SI N E S S I N A N O T H E R S T A T E

CI TI Z E N O F A N O T H E R S T A T E            [ ] 2     [ ] 2             I N C O R P O R A T E D or P RI N CI P A L P L A C E        [ ] 4[ ] 4            F O R EI G N N A TI O N                                              [ ] 6      [ ] 6
                                                                                  O F B U SI N E S S I N T HI S S T A T E

P L AI N TI F F( S) A D D R E S S( E S) A N D C O U N T Y(I E S)
B U Z Z F E E D, I N C.,
1 1 1 E a st 1 8t h Str e et
N e w Y or k, N Y 1 0 0 0 3


D E F E N D A N T( S) A D D R E S S( E S) A N D C O U N T Y(I E S)

U. S. D E P A R T M E N T O F T H E AI R F O R C E
1 6 7 0 Air F or c e, P e nt a g o n
W a s hi n gt o n, D C 2 0 3 3 0- 1 6 7 0


D E F E N D A N T( S) A D D R E S S U N K N O W N
R E P R E S E N T A TI O N I S H E R E B Y M A D E T H A T, A T T HI S TI M E, I H A V E B E E N U N A B L E, WI T H R E A S O N A B L E DI LI G E N C E, T O A S C E R T AI N
T H E R E SI D E N C E A D D R E S S E S O F T H E F O L L O WI N G D E F E N D A N T S:




                                                                                                     C O U R T H O U S E A S SI G N M E N T
I h er e b y c ertif y t h at t hi s c a s e s h o ul d b e a s si g n e d t o t h e c o urt h o u s e i n di c at e d b el o w p ur s u a nt t o L o c al R ul e f or Di vi si o n of B u si n e s s 1 8, 2 0 or 2 1.



C h e c k o n e:         T HI S A C TI O N S H O U L D B E A S SI G N E D T O:                                                    W HI T E P L AI N S                               ✖   MA N HATTA N

                                   / s N a bi h a S y e d
DATE      2/ 1 2/ 2 0 1 9                                                                                                                           A D MI T T E D T O P R A C TI C E I N T HI S DI S T RI C T
                                   SI G N A T U R E O F A T T O R N E Y O F R E C O R D
                                                                                                                                                    [ ] N O
                                                                                                                                                    [✖ ] Y E S ( D A T E A D MI T T E D M o. 0 _7 _ _ _ _ _ _ Yr. 2_ 0_ 1_ 6_ _ _ _)
R E C EI P T #                                                                                                                                      Att or n e y B ar C o d e # # N S 1 1 2 3


M a gi str at e J u d g e i s t o b e d e si g n at e d b y t h e Cl er k of t h e C o urt.

M a gi str at e J u d g e _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ i s s o D e si g n at e d.

R u b y J. Kr aji c k, Cl er k of C o urt b y _ _ _ _ _ _ _ _ _ _ _ _ _ D e p ut y Cl er k, D A T E D _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _.

U NI T E D S T A T E S DI S T RI C T C O U R T ( N E W Y O R K S O U T H E R N)


                                                                       Cl e ar F or m                                   Save                                        Pri nt
